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rN THE UNITED sTATES DISTRICT CoURT ""`- D=@
FoR THE WESTERN DISTRICT OF TENNESSEIFJS APR 35 P
EAsTERN DIVIsIoN H 3= 36

PAULINE THARPE, by next friend and
attorney in fact, MARSHALL THARPE,

 

Plaintiff,
VS. No. 05-1067-T
MERCK & CO., et al.,

Defendants.

ORDER ON MOTION FOR ADMISSION PRO HAC VICE

Defendant Ronnie L. Batche]or, DPH, has moved for permission to permit Thomas
M. Donnell, Jr., to participate rm ha_c m on his behalf in this action. Mr. Donnell is a
member in good standing in the U. S. District Court for the Middle District of Tennessee.
F or good cause shown, that motion is granted It is hereby ordered that Thomas M. Donnell,
Jr., be admitted pro fm v_ic_e and may actively participate in this action, including pre-trial

and post-trial proceedings before this court.

IT IS SO ORDERED.
@/m,o/ 5 M

D. TODD
ED STATES DISTRICT IUDGE

1225wa

DATE

Th|s document entered on the docket sheet In compliance

with anne ss and;or se(b) Fach on ___Q_\i_-_A.»$:_'_O_$___

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Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 1:05-CV-01067 Was distributed by faX, mail, or direct printing on
Apri128, 2005 to the parties listed.

nssEE

 

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Honorable J ames Todd
US DISTRICT COURT

